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           EXHIBIT 4
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                                           Case 1:23-cv-00108-LMB-JFA             1441-4
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                                                                                                                        Page 3    3 PageID#
                                                                                Exhibit 4
                                                                                104080
                                                                                104221
                                                                                  (filed under seal)

Priv Log Number/Bates      Date/Time               From                     To                               CC                                  Privilege Description                             Privilege Assertion
                                                                                                                           Comment notification email on evaluation of proposed remedies in
                                                                                                                           response to ongoing and active regulatory litigations in the US and
                                                                                                                          EU prepared at or under the direction of counsel and revealing legal
                                                                                                                          advice of Bevan Avery ESQ, Ben Jones ESQ and Conor Opdebeeck-
 GGPL-AT-000748006      8/24/22 10:18 PM                                                                    N/A                         Wilson ESQ regarding contents thereof.                            WP
                                                                                                                           Comment notification email on evaluation of proposed remedies in
                                                                                                                           response to ongoing and active regulatory litigations in the US and
                                                                                                                          EU prepared at or under the direction of counsel and revealing legal
                                                                                                                          advice of Bevan Avery ESQ, Ben Jones ESQ and Conor Opdebeeck-
 GGPL-AT-000748013      8/25/22 5:25 AM                             g                                       N/A                         Wilson ESQ regarding contents thereof.                            WP
                                                                                                                           Comment notification email containing and revealing work product
                                                                                                                          and legal advice of Alex Bergersen ESQ, Uchechi Okereke ESQ and
                                                                                                                            outside counsel regarding brainstorm session plans compiled for
                                                                                                                          potential remedies in response to active regulatory investigations and
 GGPL-AT-000752846      3/10/20 2:04 PM                            stonehenge@google.com                    N/A                           prepared in anticipation of litigation.                       AC; WP

                                                                                                                            Email gathering information to assess cost of proposed remedy to
                                                                                                                          resolve active government investigations, undertaken in anticipation
                                                                                                                            of litigation. This email reveals the underlying legal strategy and
                                                                                                                            opinion work product of Ted Lazarus, ESQ and Rosie Lipscomb,
  GGPL-AT-0026493       10/2/20 7:56 PM                                                                                      ESQ in that it reveals the nature of the remedy being assessed.              WP

                                                                                                                             Email gathering information to assess cost of proposed remedy to
                                                                                                                          resolve active government investigations, undertaken in anticipation
                                                                                                                             of litigation. This email reveals the underlying legal strategy and
                                                                                                                             opinion work product of Ted Lazarus, ESQ and Rosie Lipscomb,
  GGPL-AT-0026596       10/7/20 5:44 PM                                                                                        ESQ in that it reveals the nature of the remedy being assessed.            WP
                                                                                                                          Financial model relating to potential remedy, prepared in response to
                                                                                                                          active government investigations and in anticipation of litigation and
                                                                                                                               under the direction of counsel including Alex Bergersen ESQ,
                                                                                                                           reflecting legal advice and opinion work product of Alex Bergersen
  GGPL-AT-0027071       3/17/20 4:34 PM                                    N/A                              N/A                          ESQ and external competition law counsel.                      AC; WP
                                                                                                                              Information compiled in order to ballpark the financial cost of a
                                                                                                                            potential remedy in response to active government investigations,
                                                                                                                          prepared at the direction of Ted Lazarus, ESQ and in anticipation of
                                                                                                                              litigation. The compiled information, which did not exist in the
                                                                                                                            ordinary course of business and would not have been compiled but
                                                                                                                            for the active government investigations and anticipated litigation,
                                                                                                                            reflects the opinion work product of Ted Lazarus, ESQ and Rosie
                                                                                                                            Lipscomb, ESQ because it reveals legal strategy and the nature of
  GGPL-AT-0027272       8/13/20 2:54 PM                                    N/A                              N/A                                          the remedy.                                      WP
                                                                                                                            Financial model reflecting and containing opinion work product of
                                                                                                                                 Ted Lazarus ESQ and Svilen Karaivanov ESQ, prepared in
                                                                                                                            anticipation of litigation and to assist Ted Lazarus ESQ and Svilen
                                                                                                                               Karaivanov ESQ in providing legal advice, regarding potential
  GGPL-AT-0034603       1/13/21 6:41 PM                                    N/A                              N/A                     remedies to resolve active government investigations.               AC; WP




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                                                                                   Exhibit 4
                                                                                   104081
                                                                                   104222
                                                                                   (filed under seal)

 Priv Log Number/Bates      Date/Time                    From                 To                              CC                                  Privilege Description                             Privilege Assertion
                                                                                                                           Spreadsheet prepared at the direction and revealing legal advice and
                                                                                                                           opinion work product of Alex Bergersen ESQ and Uchechi Okereke
                                                                                                                               ESQ re analysis of remedy proposals for multiple regulatory
   GGPL-AT-0034781       3/23/20 12:55 PM                                    N/A                             N/A                                        investigations.                                    WP
                                                                                                                               Presentation revealing substantive details of potential remedy
                                                                                                                              prepared by or at the direction of Janan Crocker ESQ and Zane
                                                                                                                            Shahroody ESQ, in response to an active government investigation
GOOG-AT-MDL-007398364    3/19/22 12:17 AM                                    N/A                             N/A                  by the European Regulators in anticipation of litigation.                WP
                                                                                                                           Presentation revealing substantive details of potential remedy project
                                                                                                                           prepared by or at the direction of Kent Walker ESQ in response to an
                                                                                                                           active government investigation by the European and US Regulators
GOOG-AT-MDL-007412833     3/1/22 3:49 PM                                     N/A                             N/A                                 in anticipation of litigation.                            WP
                                                                                                                            Presentation prepared or collected by Kent Walker ESQ revealing
                                                                                                                           substantive details of potential remedy prepared in response to active
                                                                                                                           government investigation by the European Regulators in anticipation
GOOG-AT-MDL-007412849    6/20/22 2:43 PM       Shared drive (unavailable)    N/A                             N/A                                         of litigation.                                    WP
                                                                                                                               Presentation revealing substantive details of potential remedy
                                                                                                                              prepared in response to active government investigation by the
GOOG-AT-MDL-007423160    12/5/22 10:56 AM                                    N/A                             N/A                     European Regulators in anticipation of litigation.                    WP
                                                                                                                           Spreadsheet prepared at the direction and revealing legal advice and
                                                                                                                           opinion work product of Alex Bergersen ESQ and Uchechi Okereke
                                                                                                                               ESQ re analysis of remedy proposals for multiple regulatory
GOOG-DOJ-AT-01438099     3/23/20 12:55 PM                                    N/A                             N/A                                        investigations.                                    WP




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